        Case: 23-30033    Document: 99    Page: 1    Date Filed: 07/08/2024




                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                      TEL. 504-310-7700
CLERK                                                           600 S. MAESTRI PLACE,
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                                                               NEW ORLEANS, LA 70130

                               July 08, 2024


Mr. Steven H. Hazel
U.S. Department of Justice
Civil Division
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1523 New Hampshire Avenue, N.W.
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      No. 23-30033       Reese v. Bureau of Alcohol
                         USDC No. 6:20-CV-1438

Dear Counsel:
Please be advised that the court has requested letter briefs
from the parties not exceeding 10 pages addressing the Supreme
Court’s decision in United States v. Rahimi, No. 22-915 (June
21, 2024).
The letter briefs should be filed in this office by close of
business on or before July 25, 2024.

                                   Sincerely,
                                   LYLE W. CAYCE, Clerk

                                   By: _________________________
                                   Roeshawn Johnson, Deputy Clerk
                                   504-310-7998

cc:   Mr. George J. Armbruster III
      Mr. William V. Bergstrom
      Ms. Janet R. Carter
      Mr. Joseph Greenlee
      Ms. Sarah A Hunger
      Mr. Timothy Robert William Kappel
      Mr. John David Ohlendorf
 Case: 23-30033   Document: 99   Page: 2   Date Filed: 07/08/2024



Mr. Peter A. Patterson
Mr. Ivan Wohner
Ms. Abby Christine Wright
